
33 N.Y.2d 627 (1973)
State of New York, Respondent,
v.
Mobil Oil Corporation, Appellant.
Court of Appeals of the State of New York.
Argued June 6, 1973.
Decided July 3, 1973.
Sanford M. Litvack, Kevin D. Brennan and Peter H. Rodgers for appellant.
Louis J. Lefkowitz, Attorney-General (Charles A. La Torella, Jr., Samuel A. Hirshowitz and August L. Fietkau of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI and JONES. Taking no part: Judge WACHTLER.
Order affirmed, with costs. Question certified answered in the affirmative. No opinion.
